Case 2:07-cV-05895-C.]B-SS Document 1-1 Filed 09/24/07 Page 1 of 6

C'I' CORPORAT\ON

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'ro: Subhash Sarda, CFO
LifB Sera

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, inc.
736 Parl< Nerlh Blvd. Suite 100

C|ari<s!on. GA. 30021

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22nd Judicial Dislrlc:l Gourt. Parieh of St. `iemmony, LA
Cese # 200?13903}.".

N|edida! injury - lmpmper Care and `Trealrnent - On or about June 25. 2007

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By Prooesa Server on 08!24»‘2007 al GQ:UO

Wiii'rin 15 days after the service hereof

Gacrgia G. Turgeau

Tu£gaau Law Firrr\ i_.i..C.

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8550 Linlted P|aza Beuiavard
Baton Rou e. LA, ?'UBOQ
225-922 90 .

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MICHAEL TAYLOR No. 2007-13903 §
22"‘l Juclicial District Cou rt
V@‘S“S Parish of St. Tammany §

LII-'E sE.RA, INC. - Louisiana

 

 

TO THE DEFENDANT LIFE SERA, .*`NC., THROUGH AGENT .FDR SERVICE DF PROCE.SS: C T
CORPORATION SYSTEM, 8550 U`NTTED PI_.AZA BL.VD., BATON ROUGE, LA ?0809

 

You ore hereby summoned to comply with the demand contained in the petition of which o true and correct copy (exc|tlsive of`
exhibits) accompanies this citelion, or make an appearance either by filing a pleading or otiterwise, in the 22"`1 Judicini Dist: ict
Cotnt in and i'or the Parish of St Tornmany, State of Locieiann, within i'rf`reen (i 5) days offer the service hcrcof; under penalty
ofdcfnnitjudg,rnent against you.

Wilncss the i-ionornble the lodges ofsaid Court this iOT" day of AUGUST A.D. 20 07

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BY: S.¢’KRIST!NA M. KEMP

lSSUE-D:S!iéi'{}?

   

erronon GEORG|AG TURGEAU Pi}l

 

1926 CORPORATE- SQUARE BLVD SUlTE C

 

SL'] DEL-L L'OUISIANA ?0458

 

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narcan TAYLOR
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LIFE SERA, lNC. AND XYZ. INS'URANCE COMPAN'Y
AUB l 0 ZUU?

 

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DEPUTY CLERK

 

 

go'rt'r"ig§ § 93 QAMAQES

The petition of MICHAEL TAYLOR., o person ot full age end moinrity_old
domiciled in the P'.rrish of St. Tommany, Stnte of I.euisioon, with respect represents. to-wil':
l.

`.l'he following named parties ore mode defendants herein, to wlt:

A. LlFE SERA, INC., a foreign eerporntioo, organized and chartered under the laws
of o state other then Leulslrmn, but authorized to do end doing business in the Stete
of Louisi:ml'l, nl all times relevant and material to this cause of uction; and

B. XYZ lNSURANCE COMPANY, o foreign insurance corpomtioo, organized and
chartered under thelaws of o stole other then Louisinno, but authorized to do end
doing business in the Stote ot‘Louisiano, ns liability insurer for L!FE SERA, INC.,
ut all times relevant and material to this cause of ectien.

II.

Thot the said Del'endnuts ore justly end truly indebted onto your Peritieoer for such
damages ns ore reasonable under the circumstances. together with legal interest thereon
from date o|’}udiciol demeod, until paid, and for all costs oftheoe proceedings,r for the
followingl to-wit:

III.

On or about June 26, ZOUT, your Pcf‘itiooer went to Lil'o Ser'e, lne. la Meteir'ie.
Lotlisinne to donato plasmn. During his demotion seselcm, Mr. 'I':tylor's nurse complained
to him she was tired end wanted to go bome. At the end of the donation session, the nurse
asked Mr. Teylor ifeverythtng was okay end he replied that itwes. She hogan to nnhoelt
the I.V. from him when she become distracted and turned away from him. itt this moment,
Mr. `\'nylor begun to feel severe pain in his chest . Mr, Toylor, holding his eheet, alerted the

" nurse who began to poole end called for help. Other technicians then come to the nld. Tlle
hood nurse then dumped Mr. Toyior’s I.V. and explained to Mr. Taylor that his nurse

 

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forgot to do this and by not doing so, caused a chemical to back flow into the l.V. and into
Mr. ']'aylor's hody. The chemical is unknown at the filing of this Pel'itlon as Lii'e Sera has
failed to identify the chemical or even answer communications from Pet'itioner’s attorney.
`l'heir failure to respond has hampered Mr. Tayior‘a efforts to he properly diagnosed and
treated by his attending physician
IV.

That the sole and proximate cause of the injuries and damages sustained by your
Petitioner was the individual, jolnt, solidary, concurrent auditor successive negligence of the
said LIFE SERA,lNC. which negligence consisted of the following acts nndlor omissions,

to-wit:
(n) Failure to clamp Petitioner‘s I.V. during the donation smioa causing
a chemical to hack flow into the l.V. and into Petitioner’s body;
{b) Failare to ldentify the ehemical; `
[e) Failure to observe reasonable carc;
(d] l"allure to attend to nn unsafe condition that they knew or should have
known nbout;
(e] Failure to provide lmmediate assistance and medical care to plaintil`f;
(t] Iaatlention te a potential plasma donation hazard;
(g) Prescnting an unreasonable and foreseeable risk of harm to plasma
donation patients; and
(b) Otber negligence which lay be proven at a trial of this matter.
V.
That at n result of the above negligenee, your Petitioner sustained the following
injuries

(a) chere chest pain and complications.
V'l.
Petitioner itemlces his damages as follows
{a} Past physical pain, sulfering and discomfort
(b) Pest mental anguish. nggrnvatioo, annoyancc, and atross;
{¢) Daeetluy;
{d] Farure physical paio, suffering and discomfort;
[c) Hutttre mental aoguish, aggravation, and annoyance;
(f} Past medical expenses
[g) I~'nture medical expenses
(h) l’ast lost wages;

(i) Future lost wages;

 

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[]) I..oss ot' enjoyment of lile;
(tt) Loss of nseft'unetlon of ports ol'body;
(l) Bodily disobility;
{m) lmpainnent of psychological fnnctionlngi
(o} Di.snhility limiting work to earn an lneome;
(o) Destruetion of earning eapoeity; and
(p) Disablllty from engaging fn reerestlon.
Your Petitioner prays for those damages that ore just and reasonable under the
facts and circumstances o|' this eose.
V'tl.
Pet'lttoler strictly reserves the right to amend and supplement this petition ns
necessary concerning damages
V'IlI. s
'l‘tmt at the time of the accident sued upon bereln. the said Del'endnnt, LH"E SERA,
INC., hud o liability insurance policy from XYZ lNSURANCE COMPANY insuringthe
negligent acts and operation by the said Lll"E SERA, INC., while operating their Metnirie,
Louislnno donation eeoter, and that said insurance companyr ts therefore solidarin and
vicariously liable and responsible to petitioner for the negligence and damages set forth
above
lXt
?nrsmmt to Ln. C.C.l°. Art 893, ¥etit'mnor reasonably and in good faith alleges the

claims herein exceed the amount requisite for n jury trinl.

WHEREFORE, Petltloner prays that the Defend:¢nts bo cltll;l cited to appear end
answer this l’etition, that they be served with n copy of snme, end otterull legal delays sod
due proceedings bad, there be judgment herein in favor oi'ynur Petitioner, MICHAEL
TAYLOR, and against Del'enclnnts, LIFE SERA, INC. and XYZ H*ISURANCE
COMPANY, jointly and lnsolido, for such damages as oro reasonable and just under the
elroumstnnees, together with legal interest thereon from date of judicial demancl, until

poid, and for all costs of these proceedings, and for all generat and equitable relier.

 

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1926 Corporatc Squore Blvd., Suile C
Slidell, Louisiana 70453
Tclephone: {985) 781~8883
Facsiml|e: (985) 781-2014
A!!orneyfor MICHAEL TA 1103

PLEA§E SE§V]_I,:

[1) LIF`E SERA, lNC.
Through ¢§geot forService of I’rucess:
C T Corporotioo System
855% Uni£ed ¥lu'a B\vd.
Baton Rouge, LA 70809

PL AS LD ' l R:
(2) XYZ lNSURANCE COMPANY, Liabil{ty lusuwr for LIFE SERA, iNC.

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